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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,      )         CR. NO. S-06-420 LKK
                                    )
12                  Plaintiff,      )
                                    )         SUMMARY ORDER
13                                  )
     CHRISTIAN MICHAEL GAMBOA, and )
14   JASON ALAN ORDONEZ,            )
                                    )
15                  Defendants.     )
     _______________________________)
16

17        This case came before the court for a status conference on

18   December 19, 2006.    Plaintiff United States of America was

19   represented by Assistant U.S. Attorney Kenneth J. Melikian.

20   Defendant Christian Michael Gamboa appeared in custody, and was

21   represented by Attorney John Rodriguez.        Defendant Jason Alan

22   Ordonez appeared in custody, and was represented by Attorney Nancy

23   Yamini, who was standing in for Attorney John Feiner.

24        The court first addressed the issue regarding Mr. Feiner’s

25   representation of defendant Ordonez.        The court noted that it had

26   received a letter from the State Bar of California indicating that

27   Mr. Feiner would not be able to represent defendant Ordonez.          Ms.

28   Yamini stated that as defendant Ordonez had retained Mr. Feiner’s

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 1   law office, as opposed to Crime Attorneys, Mr. Feiner would be

 2   able to represent defendant Ordonez in this case.

 3        After further discussion, the court ordered that Mr. Feiner

 4   personally appear at a status conference on January 3, 2007.           As

 5   Assistant Federal Defender Caro Marks was present, the court

 6   instructed the Office of the Federal Defender to look into this

 7   matter regarding Mr. Feiner’s ability to represent defendant

 8   Ordonez, and also to have a representative present at the January

 9   3rd status conference.

10        Mr. Rodriguez, on behalf of defendant Gamboa, then informed

11   the court that he was involved in negotiations with the government

12   in an effort to settle his client’s case, and requested that his

13   matter be continued to January 17, 2007, for a status

14   conference/change of plea hearing.       Both parties agreed that time

15   should be excluded through January 17, 2007, from computation

16   under the Speedy Trial Act pursuant to local code T4 (18 U.S.C. §

17   3161(h)(8)(B)(iv)) in order to afford defendant Gamboa reasonable

18   time to prepare his case.

19        ACCORDINGLY: Regarding defendant Ordonez, this matter is set

20   for a status conference on January 3, 2007.        Attorney John Feiner

21   is ordered to personally appear at this status conference.           And,

22   the Federal Defender is directed to have a representative appear

23   at this status conference, after first investigating the issue of

24   Mr. Feiner’s ability to represent the defendant.

25        Regarding defendant Gamboa, this matter is set for a status

26   conference/change of plea hearing on January 17, 2007.            Pursuant

27   to the agreement of both parties, time is excluded through

28   January 17, 2007, from computation under the Speedy Trial Act

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 1   pursuant to local code T4 (18 U.S.C. § 3161(h)(8)(B)(iv)) in order

 2   to afford defendant Gamboa reasonable time to prepare his case.

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 4        IT IS SO ORDERED.

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 6   DATED: December 21, 2006

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